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                                 UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF ILLINOIS

GREGORY GODFREY, et. al.,
                                                     Case Number 18-cv-07918
                       Plaintiffs,
                                                     Judge Matthew F. Kennelly
v.
                                                     Magistrate Judge Michael T. Mason
GREATBANC TRUST COMPANY, et al.,

                       Defendants.

                         MOTION TO FILE REDACTED BRIEF
                      AND TO SEAL CONFIDENTIAL DOCUMENTS

        Pursuant to Local Civil Rule 26.2, Defendants respectfully submit this Motion to File

Redacted Brief and to Seal Confidential Documents. In support of their motion, the Defendants

state as follows:

        1.     The agreed-to confidentiality order (Dkt. 59) permits the parties to designate as

“Confidential-Subject To Protective Order,” among other things, “research, technical,

commercial or financial information that the party has maintained as confidential.” Id. ¶ 2. The

confidentiality order further provides that a party may designate as Confidential deposition

testimony taken in this case. Id. ¶ 4.

        2.     The Defendants’ contemporaneously filed Opposition to Plaintiffs’ Motion to

Exclude Evidence Pursuant to Rule 37(c)(1) (the “Opposition”) directly quotes from and

includes as attachments documents containing information that has been designated

Confidential:, specifically, (i) confidential documents produced by Defendants in this case

(attached as Exhibits A-E and I to the Opposition) and (ii) deposition testimony designated as

confidential (attached as Exhibits F-H to the Opposition). Defendants also reference documents

Plaintiffs filed under seal in support of their motion. See Dkt. No. 227.

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        3.     Pursuant to paragraph 7 of the Confidential Order, Defendants hereby move to

file these exhibits under seal and redact any discussion of the confidential information contained

in these exhibits from Defendants’ Opposition. Dkt. 59 ¶ 7 (“Any party wishing to file a

document designated as Confidential Information in connection with a motion, brief or other

submission to the Court must comply with LR 26.2.”).

        4.     Plaintiffs do not oppose Defendants’ request.

        WHEREFORE, Defendants respectfully request the Court grant the grant the Motion to

File Redacted Brief and to Seal Confidential Documents and (1) place the exhibits under

permanent seal and (2) approve the redaction of any discussions of the confidential information

in these exhibits from Defendants’ Opposition.



Dated: July 6, 2021                         Respectfully submitted,

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